 

ease 1:04-cr-c*27-RCT Document 41 Filed 10/.)4 Page 1 ot 6

Wesley W. Hoyt, 1513 #4590

HC 66 Bo)t 313 A gte §§[;'j' '-'“ 5-; j\_ r: r
transmit m assaa y ‘
Tta: tzos) 926-7553 `i.

Fax: raos) 926-7554 - = "

Attorney for Defendant

UNlTED S'I`ATES DlS'l`RICT COURT
FGR TI-lE DISTRICT (JF [DAH()
UNl'l`F.D S'l`ATF.S DF AMERICA, ) Case No, CR-U?-OlZ?-C~RCT
l
Plaintiff, )
vs. ) MOTlON T(_`) I)ISMISS
`) SUPERSEDlNG INDIC'I`MENT
DAVTD ROLAND H]NKSON, _}
l)
)

Defendant.

 

'l`he Dcfendant David Roland Hinlr_son, by and through his attorney Wesley W. lloyt,
does respectfully move to dismiss the superseding indictment, filed on Scptember 21, 2004, and
in support of this motion, states to the Court as follows:

FACTS

The Unitcd States obtained an indictment in this case on art unspecified date therein the
“original indictment”) which indictment was filed with the Court on .lune 22, 2004, charging Mr.
Hinkson With nine counts of solicitation to commit a crime of violence under 18 U,S.C. Sec.
1114 and iii U.S.C. Sec_ 373 and two counts of threats to retaliate against federal officials in
violation of 18 U.S.C. See. 373 and ll§(a)(l)(B). Mr. Hinkson was arraigned on the original
indictment and the Court entered pleas of not guilty to all counts for him.

On Septernber 21, 2004, the United States appeared before a grand jury and obtained a
superseding indictment, which contained the original eleven counts (in substantially the same
form as alleged in the original indictment) and added a section entitled “Sentencing
Aggravators” by the addition of paragraphs 33 to 56 as stated in the superseding indictment.
rI`hese paragraphs contain allegations that defendant (l) committed the acts alleged in the first
eleven counts While motivated by knowledge that the alleged victims were ‘officcrs and
employees’ of the United States, thereby enhancing any sentencing guideline level under
3A1.2(a), of the Sentencing Guide]ines, (2`) offered money (i.e., something of pecuniary value) in
connection with the acts alleged in the original counts, thereby enhancing any sentencing

guideline level under 2Al.2(a) of the Sentenc.ing Guidelines7 and (3) committed the alleged

MC|TION 'l`('.l DISMISS SUPERSEDING lNDlC'['MENT PAGE l OF 7

 

 

 

ease 1:04-cr-0*27-RCT Document 41 Filed 10/.4 Page 2 ot 6

offenses while on bond, again enhancing any sentencing guideline level under 2]1.7 of the
Sentencing Guidelines.
ARGUMENT
I. 'l`he government correctly recognizes that
enhancements constitute elements of the alleged
offenses which must not only he proven to a jury

beyond a reasonable doubt, but also must be
pled in the indictment.

An indictment must be "...a plain, concise and definite written statement of the essential
facts constituting the offense charged.” ch. R. Crim. P. 7(c)(l). By including allegations in the
indictment (as the government has done here under “Sentencing Aggravators”) that the offenses
were committed by defendant with knowledge of the employment status of the alleged victims
and/or offering something of pecuniary value and/or while defendant was on bond the
government recognizes that these facts must be part of the “...essential facts constituting the
offense eharged” and thus must be pled. In essence, the government has acltnowledged, albeit
implicitly, that the facts relating to defendant’s knowledge of the status of the alleged victims
(and motivation resulting therefrom) and/or offering something of pecuniary value and/or being
on bond are elements of the offenses to which they relate and must not only be proven to a jury
beyond a reasonable dou bt, but must also he pled in an indictment.

Tlie government is correct in this assessment ln Appraadi v. New Jersey, 530 l.l.S. 466
(2(100), the Supreme Court held that “[o]ther than the fact of a prior conviction, any fact that
increases the penalty for a crime beyond the prescribed statutory maximum must be submitted to
a jury, and proved beyond a reasonable doubt.” Id. at 490. ]n reaching this decision, the
Apprcndi Court relied heavily upon the Fifth Amendment right to a grand juiy. Reviewing the
historical nature of this right, the Court reasoned that the right provides criminal defendants with
the “ability to predict With certainty the judgment from the face of thc felony indictment . . . .”
Id. at 478. As a result, “|j]ust as the circumstances of the crime and the intent of the defendant at
the time of commission were often essential elements to be alleged in the indict.rnent, so too were
the circumstances mandating a particular punishment.” .Id. at 430. Because Apprendi involved a
New .lersey statute and the Fourteenth Amendmcnt does not incorporate the Fifth Amendment
right to a grand jury, the Apprendi' Court did not address the indictment issue directly. ld. at 417
n. 3. Nonetheless, two years later, the Co'urt unanimously held that1 in federal prosecutions, any
fact that increases the penalty beyond the statutory maximum must be charged in the indictmentl
Sce United Smtc.s' v. Cr)ttrm, 535 U.S. 625, 627 (2(}()2).

MOTT(JN TO DISMlSS SUPERSEDlNG lNDICTMEN'l` PAGE 2 D|-" 7

 

ease 1:04-cr-0.27-RCT Documenr 41 Filed 10/1.4 Page 3 ot 6

ln Blakely v. Washr'ngmn, 124 S_ (_".t. 2531 (2004), the Supreme Court clarified the
Apprcndi holding. The Court held that the statutory rna)timum, discussed in Apprerrdi, was the
maximum guideline range established by Blakely’s plea. let at 2533 As in Appren.di, Blnkely
involved a state statute and, as a result, the Ciourt did not have the occasion to address whether
facts that increase the statutory maximum must he pled in the indictmentl C_‘f. Apprendi., 530
U.S. at 477 n. 3. Nonetheless, the Blakel_v Court’s conclusion that the statutory maximum for
Apprendr` purposes is the maximum guideline sentence, coupled with the Cotron Court’s holding
that any factor in a federal prosecution that increases the statutory maximum must be pled in the
indictmcnt, leads to the inevitable conclusion that any factor increasing a federal defendant`s
guideline sentence must be pled in the indictment. 'l`hus, the governrnent’s conclusion that they
must include in the indictment (i.e., the Supcrseding lndictment) the allegations that defendant
was motivated by employment status, offered something of pecuniary value and/or because

defendant was on bond, comports with the holdings in Btnkely, Corton, and Appren.di.l

II. While the government is correct in concluding that all
guideline enhancements constitute elements of an offense that
must he included in the indictment, the government
nonetheless cannot include these factors in the indictment.

Onee it is established that guideline sentencing enhancements constitute clements of an
offense that must be alleged in the indictnrcnt, the conclusion becomes clear that Congress
improperly delegated its power to define crimes to the Sentencing Comrnission and violated the
Constitutional separation of powers doctrine. As a rcsult, allowing the indictment to include
these enhancements as “Sentencing Aggravators" forces Mr. Hinkson to face an indictment
containing an unconstitutionally created crime (i.e., a crime created by the judiciary).

A. Congress improperly delegated its power to
define crimes to the Sentencing Commission.

In Mr'srretta v. Unr'ted Starcs, 488 U.S. 361 (1989), the Suprenre Court rejected a
challenge that, in enacting the guidelines rcgime, Congress improperly delegated its authority to
the Sentencing Comrnission. The Court reasoned that the Sentencing Reform Act did not

provide sufficient criteria to the agency it created See Mr`srretw, 438 U.S. at 371-79. lustice

 

1lf the C.ourt concludes that the defendant is wrong in this assertion, then the section of thc
Superseding indictment entitled “Sentencing Aggravators” is both immaterial and prejudicial to
the defendant and, as a result, must be stricken. See Fed. R. Crim. P. 7(d); Uru`tcd Srares v.
carrra.v, 920 F.za ara, ssi troth crr. 1990).

Mt`)'l`lON TCJ DISMISS SUPERSF.DING INDICTM|:`NT PAGE 3 Oli` 7

Case 1:04-cr-O'7-RCT Document 41 Filed 10/1.4 Page 4 of 6

Sealia agreed with this determinationl See int at 416 (Scalia, .1., dissenting). l-le dissented
because he perceived a more fundamental problem with the Act. The Act, in his view,
established an agency that had no other function than the making of laws, a function that only
Congress itself can excrcise. Sec id. at 41 6-22.

Even if the Court can be deemed to have decided the broader argument that justice Scalia
articulated, it did so on the assumption that the Sentencing Commission was not making laws,
but was only cabining judicial discretion. The Court, as it explained in its discussion of
separation of powers, considered the Guidelines to “...dt) no more than fetter the discretion of
sentencing judges to do what they have done for generations -- impose sentences within the
broad limits established by C.ongress.” lot at 667_

This view, expressed in a case in which there was no Fifth and Sixth Arncndment
challenges (later sustained in A;Jpremr'i and Bfnkel_v) is now untenable. As explained above, and
implicitly acknowledged by the government`s Superseding indictment, the holding in Colrorr that
facts which increase the statutory maximum must. under Apprendi, be charged in an indictment
establishes that such facts arc elements of a crime. See supra at 2-3. And the holding of Blnkely
that facts that increase exposure under a mandatory guideline, work an increase in the statutory
maximum, means such facts are likewise elernents. See id.

Fl`he Sentencing Commission thus did not, as Mtsrrtirrn assumes, merely limit where,
within a broad range described by Congress, a judge could sentence. Instead, the Commission
effectively set new statutory maxima based on how crimes defined in the criminal code
intersected with factors listed in the Guidclincs. This is the creation of new offenses The Court
in Mr'srretra did not consider the consequences of C‘ongress allowing an agency to perform this
quintessentially legislative f unction.

ln light of the new understanding that the Guidelincs effectively increase defendants’
maximum statutory exposure, and thus define new offenses, the Guidelines violate the delegation
doctrine. “The delegation of the elements of a criminal offense is entrusted to the legislature,
particularly in the case of federal crimes, which are solely creatures of statute." Urr.r'led States v.
Liparota, 471 U.S. 419, 424 (1935). Even if in part the Sentencing Commission exercised a
judicial function in creating the Guidelines, there can be no doubt that it also exercised the
legislative function of enacting new criminal offenses. 'l`o this extent, it acted as L`a sort of
junior-varsity Congress." Mr`.rrrerrd, 433 U,S. at 427 (Scalia, .1., dissenting).

Congress could not delegate its authority to an agency of the Judicia| Branch to create
laws. “['I`:_|he basic policy decisions governing society are to be made by the legislature Our
Members of C.ongress could not, even if they wished, vote all power to the President and adjourn

sine die.” Id. at 415 (Scalia, .`1., dissenting). Likewise, Congress could not vote a core part of its

MOT|ON 'l`O DISMISS SUPERSEDING lNDlC'l`M]lNT PAGE 4 OF 7

 

ease 1:04-cr-0‘7-RCT Documenr 41 Filed 10/1.4 Page 5 ot 6

power to an agency of the Judicial Branch. As a result, Congrcss improperly delegated its power

to define crimes to the Sentencing Comrnission.

B. Hy joining the power to define crimes with the other
powers exercised by the Sentencing (`Jomrnission, an
agency of the Judicial Branch, Congress violated the
separation of powers.

The Supreme Court`s rejection of the separation-of-powers attack in Mistrerru also rested
on the now unquestionably incorrect assumption that Congrcss did no more than permit the
Sentencing Commission to limit judicial discretion at sentencing ln fact, as just shown, the
Commission exercises the legislative function of defining offenses. See supra at 4-6.

l3ecause the Commission is an agency of the ludicial Branch, see 28 U.S,C. § 991(21);
Mi.vtrerm, 433 U.S. at 334, it may not be given powers “that are more appropriately performed by
the other Eranches,” Mr‘.srrerta, 483 U.S. at 335. C.ongress violated this principle when it gave
the Commission the uniquely legislative power to define criminal offenses See supra at 4-6.
The Sentencing Reform Act is invalid on separation-of-powers grounds because it “expand[s] the
powers of the ludicial Branch beyond constitutional bounds by uniting within the Branch the
political or quasi-legislative power of the Commission with the judicial power of the courts.” Id.
at 361.

C. Were the Court to allow the government to proceed
with the superseding indictment, it would force Mr.
Hinkson to face an indictment that includes crimes that
were created unconstitutionally.

As explained above, Ii'lakely and Apprendr` mandate the conclusion that guideline
sentencing enhancements constitute elements that must be pled in an indictment See supra at 2-
3. As a result, Congress both improperly delegated its power to create crimes and, in delegating
this power to the Sentencing Commission located within the ludicial Branch, violated the
separation of powers. See supra at 4-6. Thus, were the Court to allow the government to
proceed with the superseding indictment, it would force Mr. Hinkson to face charges entitled

“Sentencing Aggravators” that contain unconstitutionally created crimes.

II]. The government is also correct that Blakely is applicable to
this case.

On July 21, 2004, the Ninth Circuit held dicker applicable to the USG. l_l.S. v. Amelr'n.c,
376 F.3d 967, 970 (Q'h Cir., 2004) making the same applicable to the case at bar.

MOTION TO DlSMlSS SUPERSF.D|NG INDICTMENT PAGE 5 ()1-` 'l

 

Case 1:04-cr-O*27-RCT Document 41 Filed 10/]‘4 Page 6 of 6

C()NCLUSION

There is a dichotomy between the legal theory of pleading the sentencing enhancements
as elements of a crime as directed in dialoer and the practicum of pleading those clements in the
Superseding lndietment. ln order to gain the enhanced sentence_, the government must now
under B¢'nke.ly (`as applied) include in the indictment, allegations of the alleged vietims’
employment status and/or alleged pecuniary value olllered by defendant and/or the fact that
defendant was on bond at the time of the alleged ol`fense, in order to be eligible to seek
enhancement at the time of sentencing Howcver, once included in the indicting instrument, the
“Sentencing Aggravators” are unconstitutional, judicially created crimes.

Thus, the dichotomy is that, in order for the government to obtain an enhanced sentence,
it must place the “Sentencing Aggravator” charges in the indietment, yet when so located in the
charging instrument_, such cannot he Constitutionally included under the separation of powers
doctrine. This dilemma was not created by Mr. l-linkson and Mr. Hinl<son should not lbc forced
to answer an unconstitutional indictment This inherent problem with the Superscding
lndietment compels a single conclusion; the superseding indictment must be dismissed,

WHEREFORE, lvlr. l-Iinkson respectfully requests this Court dismiss the Superseding
lndietment and allow the original plea of not guilty to all 11 Counts to stand.

aespscrr=urry sustained this L’@Zttay owned

 

ERTIF `A OF SERVICE
l certify that on this y of 2004 l have served a true and correct copy

of the forgoing document u on the persons named below by the method so indicated:

Michael F'. Sullivan |I| l_l.S. Mail, ltit class postage paid
Dena Douglas P'atterson El ll.S. Certil`ied Mail, postage paid
llnited States Department of .lustice Et Federal Express
Washington, D.C. 20530 E| and Delivery

P`acsimile: 202-514-8714
'1` he llon. Richard Tallman EI ll.S. Mail, 1slt class postage paid
Llnited States Courthouse El ll.S. Certified lvlail, postage paid
1200 15']1 Avenue t;t Federal Express
21"'t Floor |Il lland Dclivery

searle wit asrt)r Mrrscsrmrr¢; 206-553-6306

/ "/

MOTION TO DISMISS SUPERSEDI'NG lND|C'l`MENT PAGF. 6 OF 7

 

 

